              Case 2:07-cr-00241-KJD-RJJ        Document 91      Filed 12/02/11      Page 1 of 3
F
    Probl2B
    DJNV Form
    Rev.M ar.2007                                                                    .
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                                       U nited StatesDistrict ourt              - ---- --- e
                                                     for
                                                                           -     *
                                            the DistrictofNev a                          '

                                     REQUEST FOR M ODIF ATIO
                TO CONDITIONSOFSUPERVISION WIT                                   Y        D
                             Probation Form 49(WaiverofHearin z.
                                                               ç
                                              Decem ber1,2011

    N am e ofO ffender:    STEPH EN FIT ZG EM LD BUR RELL

    CaseNumber:       2:07-cr-241-KJD(RJm                                                .......>   :.
    N ameofSentencing JudicialOftk er: HonorableKentJ.Daws n
                                                                               êfc -2 îL);;
    D ate ofO riginalSentence: Septem ber 30.2009
                                                                           Qta o a,yx y
    OriginalOffense: ConsoiracvtoDistributeCrack cocaine             .,     e lw y o o-

    OriginalSentence: 33 m onthscustodv:5vearssunervised release

    Date Supervision Com menced; M ay 21.2010


                                        PETITIONING THE COURT

       Toextend the term ofsupen'isian         M onths,fora totalterm of         M onths.

      ./' To m odi
                 fy the conditions ofsupervision as follow s'
                                                            .


            Reside in ResidentialRe-entry Center - You shallreside atand pM icipate in the C.A.R.E.
            program ofaresidentialre-entrycenterforaperiod ofuptoseven monthsasapproved and directed
            by the probation officer. lf you testpositive for alcohol/a controlled substance orviolate the
            conditionsoftheC.A.R.E program ,you willbetaken intocustody foraminimum custodialperiod
            ofseven days.Additionally,you shallrefrainfrom theusemld possession ofany synthetic/designer
            drugoranym incl/orbodyalteringsubstance.Useofpossession ofanysynthetic/designerdrugswill
            resultin yourtermination from tlae C.A.R.E.program .
                  Case 2:07-cr-00241-KJD-RJJ         Document 91           Filed 12/02/11    Page 2 of 3
      ïroblzB
,.F   Dm v Form                      R E CSTEPH EN FITZ G ER ALD BU Q KEL L
      Rev.M ar.2007


                                                           CA USE

      M r.Burrelliscurrently attheresidentialre-entry centerpending hisrevocation hearing on Decem ber2,
      2011.Theprobationofficewillbe recomm ending thatM r.Burrellbecontin'ued on supervision and enter
      theintensiveinpatientsubstance abuseprogram attheresidentialre-ently center.Should theCourtagree
      tothisrecommendation,werequestthatM r.Burrell'sconditionsbem oditiedtoincluderesidentialre-entry        1
                                                           thiscondition priorto therevocation hearing will   i
      centerplacem entwith the C.A.R.E.program . Adding                                                       g
      allow theprobation oftice togetM r.Burrellplaced intotheprogram withoutdelay. M r.Burrellhasread
      and signed the probation form 49/waiverofhearing and doesnotopposethe m odification. The form is
      attached fortheCourt'sreview .

      IfYourHonorshouldhaveanyquestionsorneedadditionalinfonnationspleaseconuctmeat(702)527-
      7306.

                                                           Respectftllly subm itted,




                                                          lOE NELSON
                                                          Unite StatesProbation Officer



                                                      *

      A PPROV ED :                     .
                            ROBERT G.AQUINO
                            SupervisingUnited S e robation Oflker




      TH E COURT ORDEM :

               s o actien

              n e extension of supervision asnoted above

         c'
          x
          l;Ihemodiscationofconditionsasnotedabove
               other


                                                                    SignatureofJudicialOfticer

                                                                               z- A+22776$
                                                                    Date
             Case 2:07-cr-00241-KJD-RJJ     Document 91         Filed 12/02/11    Page 3 of 3
    PROB 49
    (3/89)

                            U N ITED STA TE S D ISTR IC T C O U R T

                                        D istrietofN evada

                           W aiverofH earing to M odify C onditions
                 ofProbation/supeN ised Release orExtend Term ofSupervision


            Ihavebeen advised and understand thatlam entitled by 1aw to ahearing andassistance
    ofcounselbeforeany tmfavorablechangem ay bemadein m y ConditionsofProbation and
    Supervised Release ormy pcriod ofsupervision beingextended. By ''assistance ofcotmsel,'1
    lm derstand thatlhave the rightto be represented atthe hearing by counselofm y ow n choosing if
    lam ableto retain cotmsel,Ialsounderstand thatlhavethe rightto requestthecourtto appoint
    counselto representm eatsuch ahearing atno costto myselfifIam notable to retain counselof
    my own choosing.


    also agree to the follow ing m oditk ation ofm y Conditions ofProbation and Supelwised Release
    O                                                     .
                                                    OL
I
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    Reside in ResidentialRe-entrv Center -You shallreside atand participate in the C.A.R.E.
I   program ofaresidentialre-entrycenterforaperiodofuptosevenmonthsasapprovedanddirected
l   by the probation oftk er. If you testpositive for alcohol/a controlled substance orviolate the
I   conditionsoftheC.A.R.Eprogram,youwillbetakenintocustodyforaminimum custodialperiod
I   ofsevendays.Additionally,you shallrefrainfrom theuseand possession ofany synthetic/designer
    drugoranym ind/orbodyalteringsubstance,Useofpossessionofanysynthetic/designerdrugswill
i
!   resultin yotlrtennination from the C .A.R.E.progrmn.
!




    W itness                                            Signe
                 U . .ProbationOflker                            Pro ationerorSupelvisedReleasee


                                          D ecem ber2,2011
                                                 Date
